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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF NEW YORK
                                 BUFFALO DIVISION



 Sherry A. Turner,
                                                                 Case No:
                                          Plaintiff,
                                                                 COMPLAINT
                              vs.
                                                                 JURY TRIAL DEMANDED
 Credit Control, LLC d/b/a Credit Control & Collections,
 LLC,

                                          Defendant.


       Sherry A. Turner (hereinafter referred to as “Plaintiff”), by and through the undersigned
counsel, complains, states and alleges against Credit Control, LLC d/b/a Credit Control &
Collections, LLC (hereinafter referred to as “Defendant”), as follows:


                                        INTRODUCTION
       1.      This action seeks to recover for violations of the Fair Debt Collection Practices Act,
15 U.S.C. § 1692, et seq. (the “FDCPA”).


                                 JURISDICTION AND VENUE
       2.      This Court has federal subject matter jurisdiction pursuant to 28 U.S.C. § 1331 and
15 U.S.C. § 1692k(d).
       3.      Venue is proper under 28 U.S.C. § 1391(b) because a substantial part of the events
or omissions giving rise to the claim occurred in this Judicial District.


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          4.    At all relevant times, Defendant conducted business within the State of New York.


                                             PARTIES
          5.    Plaintiff Sherry A. Turner is an individual who is a citizen of the State of New York
residing in Erie County, New York.
          6.    Plaintiff is a natural person allegedly obligated to pay a debt.
          7.    Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).
          8.    On information and belief, Defendant Credit Control, LLC d/b/a Credit Control &
Collections, LLC, is a Missouri Limited Liability Company with a principal place of business in
Saint Louis County, Missouri.
          9.    Defendant regularly collects or attempts to collect debts asserted to be owed to
others.
          10.   Defendant is regularly engaged, for profit, in the collection of debts allegedly owed
by consumers.
          11.   The principal purpose of Defendant's business is the collection of such debts.
          12.   Defendant uses the mails in its debt collection business.
          13.   Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).


                 THE FDCPA AS IT RELATES TO THE CLAIMS HEREIN
          14.   Congress enacted the FDCPA upon finding that debt collection abuse by third party
debt collectors was a widespread and serious national problem. See S. Rep. No. 95-382, at 2 (1977)
reprinted in U.S.C.C.A.N. 1695, 1696; 5 U.S.C § 1692(a).
          15.   The purpose of the FDCPA is to protect consumers from deceptive or harassing
actions taken by debt collectors, with the aim of limiting the suffering and anguish often inflicted
by independent debt collectors. Kropelnicki v. Siegel, 290 F.3d 118, 127 (2d Cir. 2002); Russell v.
Equifax A.R.S., 74 F.3d 30, 34 (2d Cir. 1996).
          16.   To further these ends, “the FDCPA enlists the efforts of sophisticated consumers ...
as 'private attorneys general' to aid their less sophisticated counterparts, who are unlikely
themselves to bring suit under the Act, but who are assumed by the Act to benefit from the deterrent
effect of civil actions brought by others.” Jacobson v. Healthcare Fin. Servs., Inc., 516 F.3d 85,
91 (2d Cir. 2008).



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       17.     As such, the circumstances of the particular debtor in question have no bearing as
to the question of whether there has been a violation of the FDCPA. See Easterling v. Collecto,
Inc., 692 F.3d 229, 234 (2d Cir. 2012). Indeed, it is not necessary for a plaintiff to show that he or
she was confused by the communication received. Jacobson, 516 F.3d at 91. Likewise, the plaintiff
consumer's actions or inaction in response to a communication from a debt collector are irrelevant.
Thomas v. Am. Serv. Fin. Corp., 966 F. Supp. 2d 82, 90 (E.D.N.Y. 2013).
       18.     Instead, “the test is how the least sophisticated consumer—one not having the
astuteness of a 'Philadelphia lawyer' or even the sophistication of the average, everyday, common
consumer—understands the notice he or she receives.” Russell, 74 F.3d at 34.
       19.     If a debt collector's communication is “reasonably susceptible to an inaccurate
reading” by the least sophisticated consumer, it violates the FDCPA. DeSantis v. Computer Credit,
Inc., 269 F.3d 159, 161 (2d Cir. 2001). Similarly, a communication violates the FDCPA if it is
“open to more than one reasonable interpretation, at least one of which is inaccurate,” or if the
communication “would make the least sophisticated consumer uncertain as to her rights.” Clomon
v. Jackson, 988 F.2d 1314, 1319 (2d Cir. 1993); Jacobson, 516 F.3d at 90.
       20.     The FDCPA is a strict liability statute, and a debt collector's intent may only be
considered as an affirmative defense. 15 U.S.C. § 1692k(c); Ellis v. Solomon & Solomon, P.C.,
591 F.3d 130, 135 (2d Cir. 2010). Likewise, “the degree of a defendant's culpability may only be
considered in computing damages.” Bentley v. Great Lakes Collection Bureau, 6 F.3d 60, 63 (2d
Cir. 1993). A single violation of the FDCPA to establish civil liability against the debt collector.
Id.


                         ALLEGATIONS SPECIFIC TO PLAINTIFF
       21.     Defendant alleges Plaintiff owes a debt (“the alleged Debt”).
       22.     The alleged Debt is an alleged obligation of Plaintiff to pay money arising out of a
transaction in which the money, property, insurance, or services which are the subject of the
transaction are primarily for personal, family, or household purposes.
       23.     The alleged Debt does not arise from any business enterprise of Plaintiff.
       24.     The alleged Debt is a “debt” as defined by 15 U.S.C. § 1692a(5).
       25.     At an exact time known only to Defendant, the alleged Debt was assigned or
otherwise transferred to Defendant for collection.



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       26.     At the time the alleged Debt was assigned or otherwise transferred to Defendant for
collection, the alleged Debt was in default.
       27.     In its efforts to collect the alleged Debt, Defendant contacted Plaintiff by letter (“the
Letter”) dated January 20, 2020. (A true and accurate copy is annexed hereto as “Exhibit 1.”)
       28.     The Letter conveyed information regarding the alleged Debt.
       29.     The Letter is a “communication” as defined by 15 U.S.C. § 1692a(2).
       30.     The Letter was the initial written communication Plaintiff received from Defendant
concerning the alleged Debt.
       31.     The Letter was received and read by Plaintiff.
       32.     15 U.S.C. § 1692g protects Plaintiff's concrete interests. Plaintiff has the interest
and right to receive a clear, accurate and unambiguous validation notice, which allows a consumer
to confirm that he or she owes the debt sought to be collected by the debt collector. As set forth
herein, Defendant deprived Plaintiff of this right.
       33.     15 U.S.C. § 1692e protects Plaintiff's concrete interests. Plaintiff has the interest
and right to be free from deceptive and/or misleading communications from Defendant. As set
forth herein, Defendant deprived Plaintiff of this right.
       34.     The deprivation of Plaintiff's rights will be redressed by a favorable decision herein.

                                         FIRST COUNT
                               Violation of 15 U.S.C. § 1692g(a)(1)
       35.     Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
       36.     15 U.S.C. § 1692g provides that within five days after the initial communication
with a consumer in connection with the collection of any debt, a debt collector shall, unless the
information is contained in the initial communication or the consumer has paid the debt, send the
consumer a written notice containing certain enumerated information.
       37.     As relevant here, 15 U.S.C. § 1692g(a)(1) requires the written notice provide “the
amount of the debt.”
       38.     To comply with 15 U.S.C. § 1692g(a)(1), a statement of “the amount of the debt”
must accurately state the amount of the debt.
       39.     A statement of “the amount of the debt,” when the debt is not owed at all by the
consumer, violates 15 U.S.C. § 1692g(a)(1).
       40.     The Letter claims that Plaintiff owed $730.35.


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        41.      Plaintiff did not owe $730.35.
        42.      Plaintiff did not owe any money at all to the entity on whose behalf Defendant was
seeking to collect.
        43.      Defendant's statement of the amount of the alleged Debt, when Plaintiff did not owe
any money at all to the entity on whose behalf Defendant was seeking to collect, violates 15 U.S.C.
§ 1692g(a)(1).
        44.      For the foregoing reasons, Defendant violated 15 U.S.C. § 1692g(a)(1) and is liable
to Plaintiff therefor.

                                        SECOND COUNT
                   Violations of 15 U.S.C. §§ 1692e, 1692e(2)(A) and 1692e(10)
        45.      Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
        46.      15 U.S.C. § 1692e provides, generally, that a debt collector may not use any false,
deceptive, or misleading representation or means in connection with the collection of any debt.
        47.      An allegation by a debt collector that a consumer owes a debt, when the debt is not
owed at all by the consumer, is a false representation made in connection with the collection of
any debt, in violation of 15 U.S.C. § 1692e.
        48.      An allegation by a debt collector that a consumer owes a debt, when the debt is not
owed at all by the consumer, is a deceptive representation made in connection with the collection
of any debt, in violation of 15 U.S.C. § 1692e.
        49.      An allegation by a debt collector that a consumer owes a debt, when the debt is not
owed at all by the consumer, is a misleading representation made in connection with the collection
of any debt, in violation of 15 U.S.C. § 1692e.
        50.      15 U.S.C. § 1692e(2)(A) prohibits the false representation of the character, amount,
or legal status of any debt.
        51.      An allegation by a debt collector that a consumer owes a debt, when the debt is not
owed at all by the consumer, is a false representation of the character of the debt, in violation of
15 U.S.C. § 1692e(2)(A).
        52.      An allegation by a debt collector that a consumer owes a debt, when the debt is not
owed at all by the consumer, is a false representation of the amount of the debt, in violation of 15
U.S.C. § 1692e(2)(A).




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       53.     An allegation by a debt collector that a consumer owes a debt, when the debt is not
owed at all by the consumer, is a false representation of the legal status of the debt, in violation of
15 U.S.C. § 1692e(2)(A).
       54.     15 U.S.C. § 1692e(10) prohibits the use of any false representation or deceptive
means to collect or attempt to collect any debt.
       55.     An allegation by a debt collector that a consumer owes a debt, when the debt is not
owed at all by the consumer, is a false representation made in an attempt to collect the debt in
violation of 15 U.S.C. § 1692e(10).
       56.     An allegation by a debt collector that a consumer owes a debt, when the debt is not
owed at all by the consumer, is a deceptive means used in an attempt to collect the debt in violation
of 15 U.S.C. § 1692e(10).
       57.     The Letter alleges that Plaintiff owed $730.35.
       58.     Plaintiff did not owe $730.35.
       59.     Plaintiff did not owe any money at all to the entity on whose behalf Defendant was
seeking to collect.
       60.     Defendant's allegation that Plaintiff owed $730.35, when Plaintiff did not owe any
money at all to the entity on whose behalf Defendant was seeking to collect, is a false
representation made by Defendant in connection with Defendant's collection of the alleged Debt,
in violation of 15 U.S.C. § 1692e.
       61.     Defendant's allegation that Plaintiff owed $730.35, when Plaintiff did not owe any
money at all to the entity on whose behalf Defendant was seeking to collect, is a deceptive
representation made by Defendant in connection with Defendant's collection of the alleged Debt,
in violation of 15 U.S.C. § 1692e.
       62.     Defendant's allegation that Plaintiff owed $730.35, when Plaintiff did not owe any
money at all to the entity on whose behalf Defendant was seeking to collect, is a misleading
representation made by Defendant in connection with Defendant's collection of the alleged Debt,
in violation of 15 U.S.C. § 1692e.
       63.     Defendant's allegation that Plaintiff owed $730.35, when Plaintiff did not owe any
money at all to the entity on whose behalf Defendant was seeking to collect, is a false
representation of the character of the alleged Debt, in violation of 15 U.S.C. § 1692e(2)(A).




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       64.     Defendant's allegation that Plaintiff owed $730.35, when Plaintiff did not owe any
money at all to the entity on whose behalf Defendant was seeking to collect, is a false
representation of the amount of the alleged Debt, in violation of 15 U.S.C. § 1692e(2)(A).
       65.     Defendant's allegation that Plaintiff owed $730.35, when Plaintiff did not owe any
money at all to the entity on whose behalf Defendant was seeking to collect, is a false
representation of the legal status of the alleged Debt, in violation of 15 U.S.C. § 1692e(2)(A).
       66.     Defendant's allegation that Plaintiff owed $730.35, when Plaintiff did not owe any
money at all to the entity on whose behalf Defendant was seeking to collect, is a false
representation made in an attempt to collect the alleged Debt in violation of 15 U.S.C. § 1692e(10).
       67.     Defendant's allegation that Plaintiff owed $730.35, when Plaintiff did not owe any
money at all to the entity on whose behalf Defendant was seeking to collect, is a deceptive means
used in an attempt to collect the alleged Debt in violation of 15 U.S.C. § 1692e(10).
       68.     For the foregoing reasons, Defendant violated 15 U.S.C. §§ 1692e, 1692e(2)(A)
and 1692e(10) and is liable to Plaintiff therefor.

                                        THIRD COUNT
                               Violation of 15 U.S.C. § 1692g(a)(2)
       69.     Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
       70.     15 U.S.C. § 1692g provides that within five days after the initial communication
with a consumer in connection with the collection of any debt, a debt collector shall, unless the
information is contained in the initial communication or the consumer has paid the debt, send the
consumer a written notice containing certain enumerated information.
       71.     As relevant here, 15 U.S.C. § 1692g(a)(2) requires the written notice provide “the
name of the creditor to whom the debt is owed.”
       72.     To comply with 15 U.S.C. § 1692g(a)(2), the written notice must accurately state
“the name of the creditor to whom the debt is owed.”
       73.     A statement of “the name of the creditor to whom the debt is owed,” when the
consumer does not any money at all to the stated entity, violates 15 U.S.C. § 1692g(a)(2).
       74.     The Letter claims the name of the creditor to whom the alleged Debt is owed is
UHG I, LLC.
       75.     Plaintiff did not owe the alleged Debt to UHG I, LLC.
       76.     UHG I, LLC never offered to extend credit to Plaintiff.


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        77.     UHG I, LLC never extended credit to Plaintiff.
        78.     Plaintiff was never involved in any transaction with UHG I, LLC.
        79.     Plaintiff never entered into any contract with UHG I, LLC.
        80.     Plaintiff never did any business with UHG I, LLC.
        81.     Plaintiff was never indebted to UHG I, LLC.
        82.     UHG I, LLC is a stranger to Plaintiff.
        83.     Defendant's statement that UHG I, LLC is “the name of the creditor to whom the
debt is owed,” when UHG I, LLC is not the name of the creditor to whom the alleged Debt is
owed, violates 15 U.S.C. § 1692g(a)(2).
        84.     For the foregoing reasons, Defendant violated 15 U.S.C. § 1692g(a)(2) and is liable
to Plaintiff therefor.

                                       FOURTH COUNT
                  Violations of 15 U.S.C. §§ 1692e, 1692e(2)(A) and 1692e(10)
        85.     Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
        86.     15 U.S.C. § 1692e provides, generally, that a debt collector may not use any false,
deceptive, or misleading representation or means in connection with the collection of any debt.
        87.     An allegation by a debt collector that a consumer owes a debt to a certain entity,
when the debt is not owed by the consumer to that entity, is a false representation made in
connection with the collection of any debt, in violation of 15 U.S.C. § 1692e.
        88.     An allegation by a debt collector that a consumer owes a debt to a certain entity,
when the debt is not owed by the consumer to that entity, is a deceptive representation made in
connection with the collection of any debt, in violation of 15 U.S.C. § 1692e.
        89.     An allegation by a debt collector that a consumer owes a debt to a certain entity,
when the debt is not owed by the consumer to that entity, is a misleading representation made in
connection with the collection of any debt, in violation of 15 U.S.C. § 1692e.
        90.     15 U.S.C. § 1692e(2)(A) prohibits the false representation of the character, amount,
or legal status of any debt.
        91.     An allegation by a debt collector that a consumer owes a debt to a certain entity,
when the debt is not owed by the consumer to that entity, is a false representation of the character
of the debt, in violation of 15 U.S.C. § 1692e(2)(A).




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       92.     An allegation by a debt collector that a consumer owes a debt to a certain entity,
when the debt is not owed by the consumer to that entity, is a false representation of the amount
of the debt, in violation of 15 U.S.C. § 1692e(2)(A).
       93.     An allegation by a debt collector that a consumer owes a debt to a certain entity,
when the debt is not owed by the consumer to that entity, is a false representation of the legal status
of the debt, in violation of 15 U.S.C. § 1692e(2)(A).
       94.     15 U.S.C. § 1692e(10) prohibits the use of any false representation or deceptive
means to collect or attempt to collect any debt.
       95.     An allegation by a debt collector that a consumer owes a debt to a certain entity,
when the debt is not owed by the consumer to that entity, is a false representation made in an
attempt to collect the debt in violation of 15 U.S.C. § 1692e(10).
       96.     An allegation by a debt collector that a consumer owes a debt to a certain entity,
when the debt is not owed by the consumer to that entity, is a deceptive means used in an attempt
to collect the debt in violation of 15 U.S.C. § 1692e(10).
       97.     The Letter claims that Plaintiff owes a debt to UHG I, LLC.
       98.     Plaintiff did not owe a debt to UHG I, LLC.
       99.     UHG I, LLC never offered to extend credit to Plaintiff.
       100.    UHG I, LLC never extended credit to Plaintiff.
       101.    Plaintiff was never involved in any transaction with UHG I, LLC.
       102.    Plaintiff never entered into any contract with UHG I, LLC.
       103.    Plaintiff never did any business with UHG I, LLC.
       104.    Plaintiff was never indebted to UHG I, LLC.
       105.    UHG I, LLC is a stranger to Plaintiff.
       106.    Defendant's allegation that Plaintiff owed a debt to UHG I, LLC, when Plaintiff did
not owe a debt to UHG I, LLC, is a false representation made by Defendant in connection with
Defendant's collection of the alleged Debt, in violation of 15 U.S.C. § 1692e.
       107.    Defendant's allegation that Plaintiff owed a debt to UHG I, LLC, when Plaintiff did
not owe a debt to UHG I, LLC, is a deceptive representation made by Defendant in connection
with Defendant's collection of the alleged Debt, in violation of 15 U.S.C. § 1692e.




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        108.    Defendant's allegation that Plaintiff owed a debt to UHG I, LLC, when Plaintiff did
not owe a debt to UHG I, LLC, is a misleading representation made by Defendant in connection
with Defendant's collection of the alleged Debt, in violation of 15 U.S.C. § 1692e.
        109.    Defendant's allegation that Plaintiff owed a debt to UHG I, LLC, when Plaintiff did
not owe a debt to UHG I, LLC, is a false representation of the character of the alleged Debt, in
violation of 15 U.S.C. § 1692e(2)(A).
        110.    Defendant's allegation that Plaintiff owed a debt to UHG I, LLC, when Plaintiff did
not owe a debt to UHG I, LLC, is a false representation of the amount of the alleged Debt, in
violation of 15 U.S.C. § 1692e(2)(A).
        111.    Defendant's allegation that Plaintiff owed a debt to UHG I, LLC, when Plaintiff did
not owe a debt to UHG I, LLC, is a false representation of the legal status of the alleged Debt, in
violation of 15 U.S.C. § 1692e(2)(A).
        112.    Defendant's allegation that Plaintiff owed a debt to UHG I, LLC, when Plaintiff did
not owe a debt to UHG I, LLC, is a false representation made in an attempt to collect the alleged
Debt in violation of 15 U.S.C. § 1692e(10).
        113.    Defendant's allegation that Plaintiff owed a debt to UHG I, LLC, when Plaintiff did
not owe a debt to UHG I, LLC, is a deceptive means used in an attempt to collect the alleged Debt
in violation of 15 U.S.C. § 1692e(10).
        114.    Defendant's demand that Plaintiff make payment for a debt that she does not owe
is a false representation made to attempt to collect any debt in violation of 15 U.S.C. § 1692e(10).
        115.    Defendant's request that Plaintiff make payment for a debt that she does not owe is
a deceptive means used to attempt to collect any debt in violation of 15 U.S.C. § 1692e(10).
        116.    For the foregoing reasons, Defendant violated 15 U.S.C. §§ 1692e, 1692e(2)(A)
and 1692e(10) and is liable to Plaintiff therefor.


                                         JURY DEMAND
        117.    Plaintiff hereby demands a trial of this action by jury.


                                     PRAYER FOR RELIEF
        WHEREFORE Plaintiff respectfully requests judgment be entered:

                   a. Finding Defendant's actions violate the FDCPA; and


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                b. Granting damages against Defendant pursuant to 15 U.S.C. § 1692k; and

                c. Granting Plaintiff's attorneys' fees pursuant to 15 U.S.C. § 1692k; and

                d. Granting Plaintiff's costs; all together with

                e. Such other relief that the Court determines is just and proper.

DATED: April 24, 2020


                                           BARSHAY SANDERS, PLLC

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